Case 2:23-cv-03709-ES-JRA Document 51 Filed 11/27/23 Page 1 of 4 PageID: 630




                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


  TRUTEK CORP.,
                                                 Civil Action No.: 2:23– cv-3709
                  Plaintiff,
         v.                                      Document Electronically Filed

  YEONG WAN CHO (a.k.a. PETER CHO,
  ET AL.,

                  Defendants.


                 UNOPPOSED MOTION FOR EXTENSION OF TIME

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Case 2:23-cv-03709-ES-JRA Document 51 Filed 11/27/23 Page 2 of 4 PageID: 631




        Defendants Salvacion, USA, Inc., Salvacion Co., LTD., Yeong Wan Cho (aka Peter Cho)

and BioSure Global, Ltd. (the “Moving Defendants”) present the following Unopposed Motion for

Extension of Time, as follows:

        1.     On July 11, 2023, Plaintiff filed its Complaint.

        2.     On October 25, 2023, the Moving Defendants served a consolidated motion to

dismiss pursuant to the Court’s October 4, 2023 Text Order directing consolidation and submission

of the Moving Defendants’ motions to dismiss.

        3.     Plaintiff’s deadline to respond to the consolidated motion to dismiss was originally

November 8, 2023.

        4.     The Court granted Plaintiff’s unopposed motion for extension of time to respond to

the consolidated motion to dismiss, extending Plaintiff’s deadline 14 days to November 22, 2023.

        5.     Plaintiff served its response to the consolidated motion to dismiss on November 22,

2023.

        6.     The Moving Defendants’ deadline to serve and file a rebuttal brief in support of

their consolidated motion to dismiss is currently December 4, 2023.

        7.     The Moving Defendants respectfully request a 10-day extension of time, or, until

December 14, 2023, to serve and file a rebuttal brief in support of their consolidated motion to

dismiss.

        8.     The Moving Defendants have not moved for or obtained similar extensions of time

related to the subject motion.

        9.     Counsel for the Moving Defendants has conferred with Counsel for Plaintiff

regarding this motion. Plaintiff does not oppose this motion.
Case 2:23-cv-03709-ES-JRA Document 51 Filed 11/27/23 Page 3 of 4 PageID: 632




       10.     This request is not filed for the purpose of delay; no party will be prejudiced by the

granting of this motion.

       WHEREFORE, the Moving Defendants respectfully request the Court grant this

Unopposed Extension to Time and extend their rebuttal deadline to December 14, 2023.


Dated: November 27, 2023                          Respectfully submitted,

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Case 2:23-cv-03709-ES-JRA Document 51 Filed 11/27/23 Page 4 of 4 PageID: 633




                                   CERTIFICATE OF SERVICE

        The undersigned, an attorney, certifies that, on this day, the foregoing document was filed

with the Clerk of the Court through the CM/ECF system, which will send notification of such

filing to all counsel of record.

Dated: November 27, 2023                             Respectfully submitted,

                                                     LADDEY, CLARK & RYAN, LLP

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